       Case 1:21-cr-00437-APM           Document 36        Filed 12/04/24      Page 1 of 20




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

       v.                                             Case No. 21-cr-437-APM

 MARK GRODS,

            Defendant.

           GOVERNMENT’S SENTENCING MEMORANDUM AND
   MOTION FOR DOWNWARD DEPARTURE FOR SUBSTANTIAL ASSISTANCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. Defendant Mark Grods is set to be sentenced on charges of conspiracy

and obstruction for his role in plotting with members and affiliates of the Oath Keepers to forcibly

oppose the certification of the 2020 presidential election and then participating in the attack on the

Capitol on January 6, 2021. Grods pled guilty to these offenses in June 2021, pursuant to a public

cooperation plea agreement. In light of Grods’ early acceptance of responsibility and substantial

assistance to law enforcement, the government requests that this Court sentence him to three years

of supervised probation, with the special conditions that the first four months of probation be

served on home detention (with permitted leave for work, medical appointments, and religious

services), that he perform 120 hours of community service, and that he pay $2,000 in restitution

and the mandatory $200 special assessment.

       I.       FACTUAL BACKROUND

       A.       The January 6, 2021 Attack on the Capitol

       The government refers the court to the stipulated Statement of Offense filed in this case,

                                                  1
       Case 1:21-cr-00437-APM            Document 36        Filed 12/04/24       Page 2 of 20




ECF 8, for a short summary of the January 6, 2021 attack on the United States Capitol by hundreds

of rioters, in an effort to disrupt the peaceful transfer of power after the 2020 presidential election.

        B.      The Defendant’s Role

        On the afternoon of January 6, when it became clear that Congress was going forward with

the certification of the 2020 presidential election, and a riot had begun at the United States Capitol,

Grods joined several other members and affiliates of the Oath Keepers in boarding golf carts and

heading to the Capitol. ECF 8 at ¶13. As the group zipped around police barricades, another

member of the group “livestreamed” a video to Facebook in which he stated that the group was

“headed to the Capitol” because “patriots storm[ed] the Capitol building.” Gov. Exh. 1508. 1 He

further described the situation as “f***ing war in the streets right now.” Id. The group parked their

golf carts just outside the entrance to the Capitol grounds and Minuta told them, “Word is that they

got in the building. Let’s go.” Id.

        As the group crossed into the restricted area of the Capitol grounds and joined the mob

outside the Capitol, Grods and the other members of the group started marching hands-on-shoulder

and maneuvered their way through the throngs from the west side to the east side of the Capitol.

Id. At about 3:15 p.m., three members of the group—Joshua James, Roberto Minuta, and Jonathan

Walden—breached the Capitol through the East Rotunda doors. Id. Grods followed a few minutes

later. Id. At the time, he was wearing a backpack, tactical gloves, and boots, and he was carrying

a large stick. ECF 8 at ¶14. Other members of the group wore additional tactical gear, like

protective vests and goggles. Gov. Exh. 1508. Grods did not proceed further into the building than




        1
          This and subsequent references herein to transcripts and trial exhibits are all from the
trial of United States v. Roberto Minuta, et al., No. 22-cr-15-APM, unless otherwise stated.
                                                   2
       Case 1:21-cr-00437-APM            Document 36        Filed 12/04/24     Page 3 of 20




the foyer just inside the East Rotunda Doors, however, because riot police started clearing the

building a short while after he entered. Id. After Grods and the rest of the group left the Capitol,

they met up with other Oath Keepers members and affiliates just outside the Capitol. Gov. Exh.

1081.1A.

       Grods’ participation in the attack on the Capitol was not random; it was the culmination of

weeks, if not months of increasingly violent calls by the leader of the Oath Keepers, Stewart

Rhodes, to oppose the lawful transfer of power from Donald Trump to Joseph Biden. Grods was

privy to these communications, as a member of the Alabama chapter of the Oath Keepers. Grods

told law enforcement that he had joined the group several years earlier, when he lived in Florida,

because the group consisted of “like-minded people who serve, protect, and uphold the

constitution.” 3/15/21 FBI Interview. He also thought he could help his community through

participation in the group’s hurricane and disaster relief efforts. Id.

       In the fall of 2020, however, the group’s focus was on opposing what they saw as a

fraudulent presidential election, including by force, if necessary. On December 23, 2020, Rhodes

published another open letter to President Trump on the Oath Keepers’ website in which he warned

that if President Trump failed to stop Congress’ certification of the election, which was scheduled

to occur on January 6, 2021, “you will leave We the People no choice but to walk in the Founders’

footsteps, by declaring the regime illegitimate, incapable of representing us, destructive of the just

ends of government—to secure our liberty—and to be a mere puppet of a deadly foreign enemy.

And, like the Founding generation, we will take to arms in defense of our God given liberty.” Gov.

Exh. 1008. Rhodes promised that “millions of American military and law enforcement veterans,

and many million more loyal patriotic American gun owners stand ready to answer your call to


                                                   3
       Case 1:21-cr-00437-APM          Document 36        Filed 12/04/24      Page 4 of 20




arms, and to obey your orders to get this done.” Id. Alabama Oath Keepers leader Joshua James

forwarded that letter to Grods and described it as something that “needs to be read before starting”

a call that James and Grods were about to join with other Oath Keepers:




       Shortly thereafter, Grods agreed to travel to D.C. with the Oath Keepers for the events of

January 6. Grods joined James on several Oath Keeper planning calls for the operation. James

described Grods in Signal messages as the “2nd for [the] state” of Alabama:




                                                 4
       Case 1:21-cr-00437-APM          Document 36        Filed 12/04/24      Page 5 of 20




Grods was also added to encrypted group chats like “DC OP: Jan 6 21.” Rhodes described the chat

as “THE DC op thread for all leadership coming in, from multiple states, and together with the

overall DC op leadership.” Gov. Exh. 9514 (Msg. 1.S.159.108). Rhodes, James, Grods, and other

co-conspirators used this Signal group chat and others to plan for January 6, 2021. Id. On the chat,

the group coordinated plans for lodging and transportation and had extensive conversations about

what weapons and gear they would bring, among other details. Gov. Exhs. 9514, 9557. They

arranged for an armed “quick reaction force” to guard a cache of weapons just outside the District,

                                                 5
       Case 1:21-cr-00437-APM           Document 36        Filed 12/04/24      Page 6 of 20




that would ferry the weapons into the city when called by Rhodes. See, e.g., Gov. Exh. 9514 (Msg.s

1.S.159.450, 524-26).

       On January 4, 2021, Grods traveled with James and several other co-conspirators to the

Washington, D.C., metropolitan area in two vehicles. ECF 8 at ¶10. Grods brought a shotgun, a

semi-automatic handgun, and ammunition for both, and he provided them to a co-conspirator to

store those items in a hotel in Virginia where Rhodes and James were staying. Id. at ¶11.

       On the morning of January 6, 2021, Grods and other Oath Keepers were supposed to

provide supplemental security for Roger Stone, but Mr. Stone ultimately did not leave his hotel,

so Grods and the other Oath Keepers in his group attended part of the event at the Ellipse and then

went back to a nearby hotel to regroup. 3/15/21 FBI Interview. At around 1:25 p.m., when it

became clear that President Trump and Vice President Pence were not going to intercede to stop

the Certification of the Electoral College vote, and as a large crowd gathered on the Capitol

grounds and converged on the building, Rhodes messaged the DC OP: Jan 6 21 chat: “Pence is

doing nothing. As I predicted.” Gov. Exh. 1500.2. At 1:38 p.m., Rhodes sent another message to

the chat stating, “All I see Trump doing is complaining. I see no intent by him to do anything. So

the patriots are taking it into their own hands. They’ve had enough.” Id. In the context of all the

messages Rhodes and his co-defendants had exchanged in the lead-up to January 6, these words

were a call to action.

       On yet another encrypted, invitation-only group chat titled “Jan 5/6 DC Op Intel team,”

which included Rhodes, James, and others, a participant posted a link to a video titled “live stream

of patriots storming capital,” and another participant asked, “Are they actually Patriots - not those

who were going to go in disguise as Patriots and cause trouble[?]” Gov. Exh. 1500. Rhodes


                                                 6
       Case 1:21-cr-00437-APM           Document 36         Filed 12/04/24      Page 7 of 20




responded, “Actual Patriots. Pissed off patriots[.] Like the Sons of Liberty were pissed off

patriots[.]” Id. James responded, “We’re coming to the Capitol ETA 30 MIN.” Id. James and

several co-conspirators (including Grods) then headed toward the Capitol. Id.

       Grods admitted in the statement of offense that he adopted as part of his guilty plea that, at

the time he unlawfully entered the U.S. Capitol building on January 6, 2021, he “believed that he

and the co-conspirators were trying to obstruct, influence, and impede an official proceeding, that

is, a proceeding before Congress, specifically, Congress’s certification of the Electoral College

vote,” and that he “acted to affect the government by stopping or delaying the Congressional

proceeding, and, in fact, did so, by intimidating and coercing government personnel who were

participating in or supporting the Congressional proceeding, and, in fact, did so . . . by intimidating

and coercing government personnel who were participating in or supporting the Congressional

proceeding.” ECF 8 at ¶¶17-18.

       On January 8, 2021, James forwarded Grods a message from Rhodes and a co-conspirator

named Kellye SoRelle that encouraged Oath Keepers to delete incriminating evidence from their

phones:




                                                  7
        Case 1:21-cr-00437-APM          Document 36        Filed 12/04/24      Page 8 of 20




James told Grods; “We need to make sure that all signal comms about the op has been deleted and

burned.” Grods complied. ECF 8 at ¶20.

   I.      THE CHARGES AND PLEA AGREEMENT

        On June 30, 2021, Grods waived his right to trial and pled guilty to Conspiracy, in violation

of 18 U.S.C. § 371, and Obstruction of an Official Proceeding, in violation of 18 U.S.C. §§

1512(c)(2), 2.



                                                 8
         Case 1:21-cr-00437-APM          Document 36        Filed 12/04/24      Page 9 of 20




   II.       STATUTORY PENALTIES

          As noted by the Presentence Report issued by the U.S. Probation Office, on the conspiracy

count, Grods faces up to five years of imprisonment, and on count two, he faces up to 20 years of

imprisonment. ECF 33at ¶¶157-158. Each charge also carries a term of supervised release of not

more than three years, a fine of up to $250,000, restitution, and a mandatory special assessment of

$100. Id.

   III.      THE IMPACT OF FISCHER

          Since Grods’ guilty plea, in United States v. Fischer, the Supreme Court held that to prove

a violation of 18 U.S.C. § 1512(c)(2) “the Government must establish that the defendant impaired

the availability or integrity for use in an official proceeding of records, documents, objects, or as

we earlier explained, other things used in the proceeding, or attempted to do so.” 603 U.S. ----,

144 S. Ct. 2176 (June 28, 2024) (emphasis added). The parties agree that the facts admitted to by

Grods in his statement of offense during his guilty plea are sufficient to establish an attempted

violation of Section 1512(c)(2). Nonetheless, out of an abundance of caution, the parties have

attached here an addendum to the Statement of Offense. The parties would ask that the Court place

Grods under Oath at the start of the sentencing hearing to have him adopt the supplemental

statement of offense, to make sure he understands the elements of the offense of obstruction of an

official proceeding, as clarified by the Supreme Court in Fischer, and to have the parties declare

on the record their position that there is a sufficient factual basis to support Grods’ guilty plea.

   IV.       THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

          As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49


                                                   9
      Case 1:21-cr-00437-APM           Document 36       Filed 12/04/24      Page 10 of 20




(2007). After determining the defendant’s Guidelines range, a court then considers any departures

or variances. See U.S.S.G. § 1B1.1(a)-(c) and § 1B1.1, cmt. (background). The Guidelines apply

to a “heartland of typical cases.” Koon v. United States, 518 U.S. 81, 94-95 (1996). A “departure”

is based on “the framework set out in the Guidelines,” while a “variance” is imposed “outside the

guidelines framework” based under the applicable 18 U.S.C. § 3553(a) factors taken as a whole.

United States v. Murray, 897 F.3d 298, 309 n.8 (D.C. Cir. 2018) (cleaned up).

       A.      The Calculation of the Parties and the Presentence Report

       At the time of the plea agreement, the parties estimated Grods’ total offense level to be 24,

resulting in a Guidelines range of 51 to 63 months’ imprisonment. ECF No. 7 at 4. However, this

estimate was based on the presumption of the applicability of two specific offense characteristics

under U.S.S.G. § 2J1.2 having to do with the interference with the administration of justice. Since

that time, the D.C. Circuit decided United States v. Brock, No. 23-3045, 2024 WL 875795 (D.C.

Cir. Mar. 1, 2024), which held that the term “administration of justice,” as used in U.S.S.G. §

2J1.2, does not apply to Congress’ certification of electoral college votes. See id. at *8.

Accordingly, the enhancement in U.S.S.G. § 2J1.2(b)(2), which requires a three-level

enhancement “[i]f the offense resulted in substantial interference with the administration of

justice,” does not apply where a defendant interfered solely with the certification of electoral

college votes. U.S.S.G. § 2J1.2(b)(2); Brock, 2024 WL 875795, at *15. This holding also precludes

application of the eight-level enhancement in U.S.S.G. § 2J1.2(b)(1)(B), which applies if an

offense “involved causing or threatening to cause physical injury to a person, or property damage,

in order to obstruct the administration of justice,” to defendants who interfered solely with

Congress’ certification of electoral college votes.


                                                 10
      Case 1:21-cr-00437-APM            Document 36      Filed 12/04/24     Page 11 of 20




        Thus, the following Sentencing Guidelines sections apply to both counts of conviction:

                   U.S.S.G. § 2J1.2           Base Offense Level                           14
                   U.S.S.G. §2J1.2(b)(3)(C)   Extensive Scope, Planning, Preparation       +2
                   U.S.S.G. §3C1.1            Obstruction (destroying documents)           +2
                   U.S.S.G. §3C1.1            Minor Role                                   -2
                   U.S.S.G. §3E1.1(a)         Acceptance of Responsibility                 -3
                                                                           Total           13 2

The two counts of conviction are grouped for guideline calculation purposes because they involve

the same victim and one or more acts or transactions. U.S.S.G. §3D1.2(b).

        It is worth noting that, in addition to the fact that the adjustment under U.S.S.G. §4C1.1

was not contemplated by the parties at the time of the plea agreement, the defendant does not meet

the criteria at U.S.S.G. §4C1.1, as he played a role in transporting firearms in furtherance of his

offenses of conviction. U.S.S.G. §4C1.1(a)(7).

        At a level 13, the recommended sentencing range would be 12 to 18 months of

incarceration. 3

        B.         Downward Departure for Substantial Assistance

        The government moves, pursuant to U.S.S.G. § 5K1.1, for a downward departure for the

substantial assistance Grods has provided to law enforcement. The government submits that a four-




        2
         This calculation differs slightly from that of the Presentence Report, ECF 33 at ¶¶98-109,
which does not adopt a minor role adjustment. ECF 33 at ¶103. But the plea agreement included a
minor role adjustment, ECF 7 at 3, so the government is including that adjustment here.
        3
          In other cases, following the Circuit’s decision in Brock, the government has asked the
Court to depart upward under Section 5K2.7 (Disruption of Governmental Function), and/or
Section 5K2.6 (Weapons). The government is not advocating for such departures here, because
the parties agreed under the terms of the plea agreement to not advocate for any upward or
downward departures outside of the departure for substantial assistance to law enforcement. ECF
7 at 4.
                                                 11
      Case 1:21-cr-00437-APM               Document 36         Filed 12/04/24     Page 12 of 20




level downward departure is appropriate given the level and nature of assistance Grods has

provided.

           The Guidelines provide that, “Upon motion of the government stating that the defendant

has provided substantial assistance in the investigation or prosecution of another person who has

committed an offense, the court may depart from the guidelines.” U.S.S.G. § 5K1.1. In

determining the appropriate level of reduction to apply, the Court should consider the following

factors:

           (1) the court’s evaluation of the significance and usefulness of the defendant’s
           assistance, taking into consideration the government’s evaluation of the assistance
           rendered;

           (2) the truthfulness, completeness, and reliability of any information or testimony
           provided by the defendant;

           (3) the nature and extent of the defendant’s assistance;

           (4) any injury suffered, or any danger or risk of injury to the defendant or his family
           resulting from his assistance;

           (5) the timeliness of the defendant’s assistance.

U.S.S.G. § 5K1.1(a).

           Here, the second and fifth factors clearly apply and can be quickly addressed. Grods

contacted the FBI through his counsel in March 2021 and arranged to be interviewed to admit his

responsibility in the attack on the Capitol. While Grods was on the radar of law enforcement prior

to then, because his cell phone number had shown up as being in the area of the Capitol on January

6th and in communication with other Oath Keeper members and affiliates who breached the Capitol

building and grounds that day, the government did not know the full extent of Grods’ conduct or

what he looked like on January 6. In other words, Grod self-identified himself as a member of this


                                                     12
      Case 1:21-cr-00437-APM           Document 36       Filed 12/04/24      Page 13 of 20




conspiracy. And Grods has been cooperating with law enforcement ever since. He has debriefed

extensively with the government and pled guilty as soon as he was afforded the opportunity,

becoming the second person to plead guilty to a conspiracy offense related to the January 6 attack

on the Capitol, one week after co-conspirator Graydon Young. That plea was pursuant to a

cooperation plea agreement that Grods agreed to be made public. In other words, Grods’

cooperation was extremely timely. U.S.S.G. § 5K1.1(a)(5).

       Grods’ cooperation has also been truthful, complete, and reliable. Much of the information

he provided has been corroborated by other witnesses and objective evidence such as messages,

video, photographs, and other data recovered from his phone, from public source information and

articles, and from the devices and accounts of others recovered by law enforcement during this

investigation. In other words, the second factor listed above also supports a finding of substantial

assistance by Grods. U.S.S.G. § 5K1.1(a)(2).

       With respect to the significance, usefulness, nature, and extent of Grods’ assistance (the

first and third factors), Grods provided consent to law enforcement to search his phone (although,

as noted above, Grods deleted much of the pertinent evidence from his phone two days after the

attack on the Capitol). As noted above, Grods debriefed extensively with the government. He

testified before the grand jury. And Grods was willing to and prepared to testify at trial, although

his testimony ultimately was not needed. In sum, Grods’ cooperation with the government has

been substantial and complete. U.S.S.G. § 5K1.1(a)(1), (3).

       This cooperation was not without risks. As mentioned above, Grods was among the first

members of this conspiracy to plead guilty, and he did so pursuant to a public cooperation plea

agreement, in a case that has garnered significant national interest and, sadly, controversy. This


                                                13
        Case 1:21-cr-00437-APM         Document 36        Filed 12/04/24      Page 14 of 20




took courage on Grods’ part. This Court should give Grods credit for the danger and risk of injury

to himself and to his family that resulted from his cooperation in this case. U.S.S.G. § 5K1.1(a)(4).

        Taking all of these factors into account, a four-level downward departure would reduce

Grods’ adjusted offense level by about 31 percent from the government’s estimated final adjusted

offense level of 13, which he would have faced absent his cooperation in this matter. The

government submits that such a reduction appropriately reflects the principles outlined above that

this Court should consider in assessing the level of assistance Grods provided to law enforcement.

        C.     Sentencing Guidelines Recommendation

        The U.S. Probation Office calculated the defendant’s criminal history as category I, which

is not disputed. ECF 33 at ¶6. Under U.S.S.G. § 5C1.1(c)(3), because level 9 is in Zone B of the

Guidelines, the Court may satisfy the minimum term of imprisonment in this range by imposing

“a sentence of probation that includes a condition or combination of conditions that substitute . . .

home detention for imprisonment according to the schedule in subsection (e),” which suggests

“one level of home detention for one day of imprisonment,” U.S.S.G. § 5C1.1(e)(3). In other

words, a sentence of probation with a period of four months of home detention would be a

Guidelines-compliant sentence at level 9.

   V.        SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

        In this case, sentencing is guided by 18 U.S.C. § 3553(a). As described below, on balance,

the Section 3553(a) factors weigh in favor of the government’s recommended sentence.

        A.     Nature and Circumstances of the Offense

        As described above, Grods’ conduct on January 6, 2021 was part of a massive riot that

almost succeeded in preventing the certification vote from being carried out, frustrating the


                                                 14
      Case 1:21-cr-00437-APM            Document 36      Filed 12/04/24      Page 15 of 20




peaceful transition of presidential power, and throwing the United States into a Constitutional

crisis. Perhaps even more alarmingly, these actions were not spontaneous for Grods and his co-

conspirators—they were in furtherance of a conspiracy hatched weeks earlier to take any means

necessary, up to and including the use of force, to stop the lawful transfer of power from Donald

Trump to Joseph Biden by obstructing Congress’ certification of the Electoral College vote. Grods

came to D.C. understanding the potential for, and in many ways hoping to participate in, a forcible

interruption of the certification of the election. He wanted to fight and knew his group had brought

weapons to support the effort—and had contributed weapons to the effort. Then Grods ultimately

joined the violent mob that breached the Capitol in furtherance of this conspiracy. The nature and

circumstances of Grods’ offense were of the utmost seriousness, and fully support the

government’s recommended sentence.

       B. The History and Characteristics of the Defendant

       The defendant was unemployed at the time of this offense. ECF No. 33 at ¶138. According

to the Pre-Sentence Report, employment records showed that from September 21, 2015, to April

10, 2020, Grods worked as a service technician at a commercial appliance repair business in

Florida, and he is currently employed as an appliance delivery coordinator for a retailer, where he

has worked since March 2021. The period of unemployment that coincided with the instant

offenses was due to the pandemic and issues with Grods’ back and knees.

       Grods is a veteran. He served in the United States Army for about two years as a Combat

Engineer. He was honorably discharged from service.

       Grods has no criminal history.

       In other words, Grods’ crimes on January 6 were an isolated incident in an otherwise law-


                                                15
      Case 1:21-cr-00437-APM            Document 36        Filed 12/04/24      Page 16 of 20




abiding life.

        C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense and
           Promote Respect for the Law

        As with the nature and circumstances of the offense, this factor supports a significant period

of probation, with conditions such as a period of home detention, community service, and

restitution, as part of the defendant’s sentence. Grods’ criminal conduct on January 6 was the

epitome of disrespect for the law. At the same time, Grods has fully accepted responsibility for

this offense. Such complete and public acceptance of responsibility helps to promote respect for

the law, as would a sentence that takes into account the steps Grods has taken to cooperate with

this investigation and to make amends for his offenses.

        D.       The Need for the Sentence to Afford Adequate Deterrence

        Because of the unique circumstances of this case, a probationary sentence is appropriate

“to afford adequate deterrence to criminal conduct” by others. 18 U.S.C.§ 3553(a)(2)(B). The need

to deter others is especially strong in cases involving domestic terrorism, which the breach of the

Capitol certainly was. 4 At the same time, early and public acceptance of responsibility, coupled

with his cooperation with law enforcement, is something that should be rewarded, to encourage

others to take similar responsibility for their conduct on January 6. For these reasons, a period of

home detention, followed by a lengthy probationary sentence, achieves the goal of general

deterrence.




        4
            See 18 U.S.C. § 2331(5) (defining “domestic terrorism”).
                                                 16
      Case 1:21-cr-00437-APM           Document 36        Filed 12/04/24      Page 17 of 20




       E.      The Importance of the Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v. United

States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has “‘modif[ied] and

adjust[ed] past practice in the interests of greater rationality, avoiding inconsistency, complying

with congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96 (2007)

(quoting Rita, 551 U.S. at 349); 28 U.S.C. § 994(m). In so doing, the Commission “has the capacity

courts lack to base its determinations on empirical data and national experience, guided by

professional staff with appropriate expertise,” and “to formulate and constantly refine national

sentencing standards.” Kimbrough, 552 U.S. at 108 (cleaned up). Accordingly, courts must give

“respectful consideration to the Guidelines.” Id. at 101. The government is recommending a

Guidelines-compliant sentence, should the Court apply the government’s recommended departure

for substantial assistance to law enforcement.

       F.      Unwarranted Sentencing Disparities

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.” So long as the sentencing court “correctly calculate[s] and carefully

review[s] the Guidelines range, [it] necessarily [gives] significant weight and consideration to the

need to avoid unwarranted disparities” because “avoidance of unwarranted disparities was clearly

considered by the Sentencing Commission when setting the Guidelines ranges.” Gall v. United

States, 552 U.S. 38, 54 (2007). The government’s recommended sentence does not create


                                                 17
      Case 1:21-cr-00437-APM           Document 36        Filed 12/04/24      Page 18 of 20




unwarranted disparities in consideration of the substantial assistance the defendant has provided

to law enforcement, the risk to his and his family’s safety that it has caused, and his complete and

public acceptance of responsibility for his conduct. 5 Moreover, the government’s recommended

sentence is consistent with the sentences the government requested, and the Court imposed, in the

related cases of United States v. Jason Dolan and Graydon Young, 21-cr-28-APM, and United

States v. Caleb Berry, 21-cr-460-APM. Those cases involved cooperation pleas to the same

charges in related matters and are the best comparators to Grods’ case.

   VI.       RESTITUTION

         The Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579,

96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with discretionary

authority to order restitution to victims of most federal crimes.” United States v. Papagno, 639

F.3d 1093, 1096 (D.C. Cir. 2011); see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to

restitution under the VWPA). 6 Generally, restitution under the VWPA must “be tied to the loss

caused by the offense of conviction,” Hughey v. United States, 495 U.S. 411, 418 (1990); identify

a specific victim who is “directly and proximately harmed as a result of” the offense of conviction,

18 U.S.C. § 3663(a)(2); and is applied to costs such as the expenses associated with recovering


         5
         A routinely updated table providing additional information about the sentences imposed
on other Capitol breach defendants is available here: https://www.justice.gov/usao-dc/capitol-
breach-cases. To reveal that table, click on the link “SEE SENTENCES HANDED DOWN IN
CAPITOL BREACH CASES.” The table shows that imposition of the government’s
recommended sentence in this case would not result in an unwarranted sentencing disparity.
         6
          The Mandatory Victims Restitution Act, Pub. L. No. 104-132 § 204, 110 Stat. 1214
(codified at 18 U.S.C. § 3663A), “requires restitution in certain federal cases involving a subset of
the crimes covered” in the VWPA, Papagno, 639 F.3d at 1096, including crimes of violence, “an
offense against property … including any offense committed by fraud or deceit,” “in which an
identifiable victim or victims has suffered a physical injury or pecuniary loss.” 18 U.S.C.
§ 3663A(c)(1).
                                                 18
      Case 1:21-cr-00437-APM            Document 36        Filed 12/04/24      Page 19 of 20




from bodily injury, 18 U.S.C. § 3663(b). At the same time, the VWPA also authorizes a court to

impose restitution “in any criminal case to the extent agreed to by the parties in a plea agreement.”

See 18 U.S.C. § 3663(a)(3). United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

       Here, the parties agreed, as permitted under 18 U.S.C. § 3663(a)(3), that Grods must pay

$2,000 in restitution. 7 ECF 7 at 9-10. As the Presentence Report reflects, the riot at the United

States Capitol had caused “approximately $2,923,080.05” in damages, a figure based on loss

estimates supplied by the Architect of the Capitol and other governmental agencies as of July 2023.

ECF 33 at ¶8, n.3. For the reasons outlined in greater detail in the restitution brief submitted in the

related Rhodes matter, see Case No. 22-cr-15, ECF No. 654, which the government incorporates

by reference, the government submits that $2,000 represents an appropriate and proportional

amount of restitution for Defendant Grods to pay.

   VII.    CONCLUSION

       For the reasons set forth above, the government recommends that the Court impose a

sentence of three years of probation, with the special conditions that the defendant spend the first

four months of probation on home detention (with permitted leave for work, medical appointments,

and religious services), that he perform 120 hours of community service, and that he pay $2,000

in restitution and the mandatory $200 special assessment.




       7
          Unlike under the Sentencing Guidelines for which (as noted above) the government does
not qualify as a victim, see U.S.S.G. § 3A1.2 cmt. n.1, the government or a governmental entity
can be a “victim” for purposes of the VWPA. See United States v. Emor, 850 F. Supp.2d 176, 204
n.9 (D.D.C. 2012) (citations omitted).
                                                  19
Case 1:21-cr-00437-APM   Document 36      Filed 12/04/24     Page 20 of 20




                               Respectfully submitted,

                               MATTHEW M. GRAVES
                               UNITED STATES ATTORNEY


                         BY:
                               Kathryn L. Rakoczy
                               D.C. Bar No. 994-559
                               Assistant U.S. Attorney
                               U.S. Attorney’s Office for the District of Columbia
                               601 D Street, N.W., Room 5.236
                               Kathryn.Rakoczy@usdoj.gov




                                 20
